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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS


NATALE COSENZA,               )
                              )
          Plaintiff,          )
                              )
v.                            )    Case No. 4:18-CV-10936 TSH
                              )
CITY OF WORCESTER, et al.,    )
                              )    Hon. Timothy S. Hillman
                              )
        Defendants.           )
                              )    JURY TRIAL DEMANDED
                              )
                              )
    PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION IN LIMINE
   TO PRECLUDE PLAINTIFF FROM STATING THAT HE IS INNOCENT

      Defendants have moved in limine for an order that would preclude Plaintiff

from stating that he is “innocent” and from characterizing his arrest, conviction and

incarnation as “wrongful.” ECF No. 189. The motion should be denied in part.

      In the trial of this case Plaintiff may not be precluded from proclaiming that

he is innocent. Plaintiff has personal knowledge that that is a truthful statement.

Because Plaintiff knows that he is innocent, he also knows that his arrest, his

conviction and his incarceration were wrong and false. Plaintiff must not be denied

the opportunity to inform the jury of these facts.

      Innocence is at the heart of this case. At the very least, Plaintiff’s innocence

bears on the measure of his damages. See Limone v. United States, 497 F. Supp. 2d

143, 227 (D. Mass. 2007), aff'd on other grounds, 579 F.3d 79 (1st Cir. 2009)

(describing the “horror” suffered by an innocent, incarcerated person); see also Par.

v. City of Elkhart, Ind., 702 F.3d 997, 1001 (7th Cir. 2012) (holding that evidence of
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innocence aids the jury in “determining the appropriate damages award”); see also

Waters v. Town of Ayer, No. CV 04-10521-GAO, 2009 WL 10728967, at *3 (D. Mass.

Apr. 6, 2009) (opining that fingerprint evidence showing and expert testimony about

plaintiff’s innocence was directly relevant to the jury’s determination of

compensatory damages); see also Sanford v. Russell, 531 F. Supp. 3d 1221, 1224

(E.D. Mich. 2021) (holding that evidence is relevant to liability and damages,

particularly when defendants are unwilling to concede that plaintiff is factually

innocent) (citing Ayers v. City of Cleveland, 773 F.3d 161, 169 (6th Cir. 2014)); Ott v.

City of Milwaukee, No. 09-C-870, 2015 WL 1219587, at *9 (E.D. Wis. Mar. 17, 2015)

(DNA evidence showing that someone other than plaintiff was connected to the

murder is admissible on the issue of damages); Patterson v. Burge, No. 03 C 4433,

2007 WL 1498974, at *2 (N.D. Ill. May 17, 2007) (noting that evidence of plaintiff’s

innocence may affect the damages he can recover).

      Thus, since Plaintiff’s innocence is undeniably relevant and since Plaintiff

has personal knowledge of that fact, he must be permitted to so testify.

      Defendants point out that there has never been a determination by the

Superior Court that Plaintiff’s prosecution was unjustified or that Plaintiff is

innocent of the attack on Melissa Horgan. What did happen, as Defendants

acknowledge, is that the Superior Court awarded Plaintiff a new trial because he

had not had an adequate opportunity to contest the circumstances of Ms. Horgan’s

identification. See Commonwealth v. Cosenza, No. 0085CR00430 (Sup. Ct. Mass.

May 13, 2016), PX 93 (attached here as Ex. A). Thereafter, the Superior Court


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conducted a hearing on Plaintiff’s renewed motion to suppress. On August 28, 2017,

the Superior Court entered an order suppressing Ms. Horgan’s identification and

specifically finding that her identification was “unnecessarily suggestive.”

Commonwealth v. Cosenza, No. 0085CR00430 (Sup. Ct. Mass. August 28, 2017), PX

84 (attached here as Ex. B). Deprived of their only evidence against Plaintiff, the

Commonwealth thereupon moved to nolle prose the charges.

      Plaintiff agrees that it would be improper for him or his counsel to suggest

before the jury that the Superior Court has “found him innocent,” that his

conviction and incarceration has been “determined to be wrongful,” or that he has

been officially “exonerated.” There has not been such a determination or finding.

To the extent Defendants’ motion merely seeks a bar on such statements, Plaintiff

does not oppose it.

                                   CONCLUSION

      For the foregoing reasons, this court should enter an order denying

Defendants’ motion regarding statements as to Plaintiff’s innocence to the extent

that motion seeks to bar Plaintiff from testifying that he is “innocent” and that his

conviction and his incarceration were wrong and false.

                                 Respectfully submitted,

                                 NATALE COSENZA

                                 By: /s/ Locke E. Bowman



Jon Loevy (#6218254)
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                           CERTIFICATE OF SERVICE

      I, Locke E. Bowman, an attorney, hereby certify that on September 19, 2022,

I filed the foregoing document using the Court’s CM/ECF system, which effected

service on all counsel of record.

                                        /s/   Locke E. Bowman




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